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                              9
                                                      UNITED STATES DISTRICT COURT
                             10
                                                     CENTRAL DISTRICT OF CALIFORNIA
                             11
                             12
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                                MISSION SPRINGS WATER                           Case No. 5:20-cv-00332 TJH (KKx)
                             13 DISTRICT, a county water district and
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                                public agency of the State of California,       STIPULATED PROTECTIVE
                             14                                                 ORDER
                                             Plaintiff,
                             15
                                      v.
                             16
                                MASTER METER, INC., a Texas
                             17 Corporation; and CORE & MAIN, a
                                California Limited Partnership, and
                             18 DOES 1 through 10, inclusive,
                                                                                Judge:        Hon. Terry J. Hatter, Jr.
                             19              Defendants.                        Trial Date:   None yet

                             20
                             21 1.     PURPOSES AND LIMITATIONS
                             22        Disclosure and discovery activity in this action are likely to involve production
                             23 of confidential, proprietary, or private information for which special protection from
                             24 public disclosure and from use for any purpose other than prosecuting this litigation
                             25 may be warranted. Accordingly, the parties hereby stipulate to and petition the court
                             26 to enter the following Stipulated Protective Order. The parties acknowledge that this
                             27 Order does not confer blanket protections on all disclosures or responses to discovery
                             28 and that the protection it affords from public disclosure and use extends only to the
                                                                            1
                                                             STIPULATED PROTECTIVE ORDER
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                              1 limited information or items that are entitled to confidential treatment under the
                              2 applicable legal principles. The parties further acknowledge, as set forth in Section
                              3 12.3, below, that this Stipulated Protective Order does not entitle them to file
                              4 confidential information under seal; Civil Local Rule 79-5.2 sets forth the procedures
                              5 that must be followed and the standards that will be applied when a party seeks
                              6 permission from the court to file material under seal.
                              7         1.1    Description of Types of Information Eligible for Protection: The
                              8 information and/or documents eligible for protection, include, but are not limited to,
                              9 the following: sensitive pricing information contained in documents; client
                             10 information; sensitive and/or confidential information pertaining to third parties;
                             11 documents containing trade secrets and/or confidential and/or proprietary
                             12 information.
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                             13         1.2    Particularized Need for Protection: Good cause exists for entry of the
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                             14 Stipulated Protective Order. The nature of the case requires the parties to seek
                             15 and/or produce documents and information and elicit deposition testimony, the
                             16 disclosure of which may pose a substantial risk of harm to the parties’ legitimate
                             17 proprietary interests. This Stipulation and Order provides reasonable restrictions on
                             18 the disclosure of such sensitive material.
                             19         1.3    Need for Court Order: The parties require the protection of a protective
                             20 order entered by the Court to ensure that the information and documents, some of
                             21 which pose potential security issues if revealed, receive adequate and sufficient
                             22 protection.
                             23 2.0     DEFINITIONS
                             24         2.1    Challenging Party: a Party or Non-Party that challenges the designation
                             25 of information or items under this Order.
                             26         2.2    “CONFIDENTIAL” Information or Items: information (regardless of
                             27 how it is generated, stored or maintained) or tangible things that qualify for protection
                             28 under Federal Rule of Civil Procedure 26(c).
                                                                             2
                                                              STIPULATED PROTECTIVE ORDER
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                              1         2.3   Counsel (without qualifier): Outside Counsel of Record and House
                              2 Counsel (as well as their support staff).
                              3         2.4   Designating Party: a Party or Non-Party that designates information or
                              4 items that it produces in disclosures or in responses to discovery as
                              5 “CONFIDENTIAL.”
                              6         2.5   Disclosure or Discovery Material: all items or information, regardless of
                              7 the medium or manner in which it is generated, stored, or maintained (including,
                              8 among other things, testimony, transcripts, and tangible things), that are produced or
                              9 generated in disclosures or responses to discovery in this matter.
                             10         2.6   Expert: a person with specialized knowledge or experience in a matter
                             11 pertinent to the litigation who has been retained by a Party or its counsel to serve as an
                             12 expert witness or as a consultant in this action.
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                             13         2.7   House Counsel: attorneys who are employees of a party to this action.
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                             14 House Counsel does not include Outside Counsel of Record or any other outside
                             15 counsel.
                             16         2.8   Insurance Carrier: any insurance carrier providing a policy of insurance
                             17 through which a party to the instant lawsuit is or might be insured in any manner for
                             18 the damages, claims or actions that have arisen out of this lawsuit. "Insurance carrier"
                             19 includes, but is not limited to, its representatives, agents and employees.
                             20         2.9   Non-Party: any natural person, partnership, corporation, association, or
                             21 other legal entity not named as a Party to this action.
                             22         2.10 Outside Counsel of Record: attorneys who are not employees of a party
                             23 to this action but are retained to represent or advise a party to this action and have
                             24 appeared in this action on behalf of that party or are affiliated with a law firm which
                             25 has appeared on behalf of that party.
                             26         2.11 Party: any party to this action, including all of its officers, directors,
                             27 employees, consultants, retained experts, and Outside Counsel of Record (and their
                             28 support staffs).
                                                                             3
                                                              STIPULATED PROTECTIVE ORDER
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                              1        2.12 Producing Party: a Party or Non-Party that produces Disclosure or
                              2 Discovery Material in this action.
                              3        2.13 Professional Vendors: persons or entities that provide litigation support
                              4 services (e.g., photocopying, videotaping, translating, preparing exhibits or
                              5 demonstrations, and organizing, storing, or retrieving data in any form or medium)
                              6 and their employees and subcontractors.
                              7        2.14 Protected Material: any Disclosure or Discovery Material that is
                              8 designated as “CONFIDENTIAL.”
                              9        2.15 Receiving Party: a Party that receives Disclosure or Discovery Material
                             10 from a Producing Party.
                             11 3.     SCOPE
                             12        The protections conferred by this Stipulation and Order cover not only
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                             13 Protected Material (as defined above), but also (1) any information copied or extracted
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                             14 from Protected Material; (2) all copies, excerpts, summaries, or compilations of
                             15 Protected Material; and (3) any testimony, conversations, or presentations by Parties
                             16 or their Counsel that might reveal Protected Material. However, the protections
                             17 conferred by this Stipulation and Order do not cover the following information: (a)
                             18 any information that is in the public domain at the time of disclosure to a Receiving
                             19 Party or becomes part of the public domain after its disclosure to a Receiving Party as
                             20 a result of publication not involving a violation of this Order, including becoming part
                             21 of the public record through trial or otherwise; and (b) any information known to the
                             22 Receiving Party prior to the disclosure or obtained by the Receiving Party after the
                             23 disclosure from a source who obtained the information lawfully and under no
                             24 obligation of confidentiality to the Designating Party. Any use of Protected Material at
                             25 trial shall be governed by a separate agreement or order.
                             26 4.     DURATION
                             27        Even after final disposition of this litigation, the confidentiality obligations
                             28 imposed by this Order shall remain in effect until a Designating Party agrees
                                                                            4
                                                              STIPULATED PROTECTIVE ORDER
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                              1 otherwise in writing or a court order otherwise directs. Final disposition shall be
                              2 deemed to be the later of (1) dismissal of all claims and defenses in this action, with or
                              3 without prejudice; and (2) final judgment herein after the completion and exhaustion
                              4 of all appeals, rehearings, remands, trials, or reviews of this action, including the time
                              5 limits for filing any motions or applications for extension of time pursuant to
                              6 applicable law.
                              7 5.     DESIGNATING PROTECTED MATERIAL
                              8        5.1    Exercise of Restraint and Care in Designating Material for Protection.
                              9 Each Party or Non-Party that designates information or items for protection under this
                             10 Order must take care to limit any such designation to specific material that qualifies
                             11 under the appropriate standards. The Designating Party must designate for protection
                             12 only those parts of material, documents, items, or oral or written communications that
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                             13 qualify – so that other portions of the material, documents, items, or communications
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                             14 for which protection is not warranted are not swept unjustifiably within the ambit of
                             15 this Order.
                             16        Mass, indiscriminate, or routinized designations are prohibited. Designations
                             17 that are shown to be clearly unjustified or that have been made for an improper
                             18 purpose (e.g., to unnecessarily encumber or retard the case development process or to
                             19 impose unnecessary expenses and burdens on other parties) expose the Designating
                             20 Party to sanctions.
                             21        If it comes to a Designating Party’s attention that information or items that it
                             22 designated for protection do not qualify for protection, that Designating Party must
                             23 promptly notify all other Parties that it is withdrawing the mistaken designation.
                             24        5.2    Manner and Timing of Designations. Except as otherwise provided in
                             25 this Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise
                             26 stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
                             27 under this Order must be clearly so designated before the material is disclosed or
                             28 produced.
                                                                            5
                                                              STIPULATED PROTECTIVE ORDER
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                              1         Designation in conformity with this Order requires:
                              2         (a) for information in documentary form (e.g., paper or electronic documents,
                              3 but excluding transcripts of depositions or other pretrial or trial proceedings), that the
                              4 Producing Party affix the legend “CONFIDENTIAL” to each page that contains
                              5 protected material. If only a portion or portions of the material on a page qualifies for
                              6 protection, the Producing Party also must clearly identify the protected portion(s)
                              7 (e.g., by making appropriate markings in the margins).
                              8         A Party or Non-Party that makes original documents or materials available for
                              9 inspection need not designate them for protection until after the inspecting Party has
                             10 indicated which material it would like copied and produced. During the inspection and
                             11 before the designation, all of the material made available for inspection shall be
                             12 deemed “CONFIDENTIAL.” After the inspecting Party has identified the documents
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                             13 it wants copied and produced, the Producing Party must determine which documents,
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                             14 or portions thereof, qualify for protection under this Order. Then, before producing the
                             15 specified documents, the Producing Party must affix the “CONFIDENTIAL” legend
                             16 to each page that contains Protected Material. If only a portion or portions of the
                             17 material on a page qualifies for protection, the Producing Party also must clearly
                             18 identify the protected portion(s) (e.g., by making appropriate markings in the
                             19 margins).
                             20         (b) for testimony given in deposition or in other pretrial or trial proceedings,
                             21 that the Designating Party identify on the record, before the close of the deposition,
                             22 hearing, or other proceeding, all protected testimony.
                             23         (c) for information produced in some form other than documentary and for any
                             24 other tangible items, that the Producing Party affix in a prominent place on the
                             25 exterior of the container or containers in which the information or item is stored the
                             26 legend “CONFIDENTIAL.” If only a portion or portions of the information or item
                             27 warrant protection, the Producing Party, to the extent practicable, shall identify the
                             28 protected portion(s).
                                                                            6
                                                              STIPULATED PROTECTIVE ORDER
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                              1         5.3   Inadvertent Failures to Designate. If timely corrected, an inadvertent
                              2 failure to designate qualified information or items does not, standing alone, waive the
                              3 Designating Party’s right to secure protection under this Order for such material.
                              4 Upon timely correction of a designation, the Receiving Party must make reasonable
                              5 efforts to assure that the material is treated in accordance with the provisions of this
                              6 Order.
                              7 6.      CHALLENGING CONFIDENTIALITY DESIGNATIONS
                              8         6.1   Timing of Challenges. Any Party or Non-Party may challenge a
                              9 designation of confidentiality at any time. Unless a prompt challenge to a Designating
                             10 Party’s confidentiality designation is necessary to avoid foreseeable, substantial
                             11 unfairness, unnecessary economic burdens, or a significant disruption or delay of the
                             12 litigation, a Party does not waive its right to challenge a confidentiality designation by
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                             13 electing not to mount a challenge promptly after the original designation is disclosed.
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                             14         6.2   Meet and Confer. The Challenging Party shall initiate the dispute
                             15 resolution process by providing written notice of each designation it is challenging
                             16 and describing the basis for each challenge. To avoid ambiguity as to whether a
                             17 challenge has been made, the written notice must recite that the challenge to
                             18 confidentiality is being made in accordance with this specific paragraph of the
                             19 Protective Order. The parties shall attempt to resolve each challenge in good faith and
                             20 must begin the process by conferring directly (in voice to voice dialogue; other forms
                             21 of communication are not sufficient) within 14 days of the date of service of notice. In
                             22 conferring, the Challenging Party must explain the basis for its belief that the
                             23 confidentiality designation was not proper and must give the Designating Party an
                             24 opportunity to review the designated material, to reconsider the circumstances, and, if
                             25 no change in designation is offered, to explain the basis for the chosen designation. A
                             26 Challenging Party may proceed to the next stage of the challenge process only if it has
                             27 engaged in this meet and confer process first or establishes that the Designating Party
                             28 is unwilling to participate in the meet and confer process in a timely manner.
                                                                            7
                                                              STIPULATED PROTECTIVE ORDER
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                              1         6.3   Judicial Intervention. If the Parties cannot resolve a challenge without
                              2 court intervention, the Designating Party shall file and serve a motion to retain
                              3 confidentiality under Civil Local Rule 7 (and in compliance with Civil Local Rule 79-
                              4 5.2, if applicable) within 21 days of the initial notice of challenge or within 14 days of
                              5 the parties agreeing that the meet and confer process will not resolve their dispute,
                              6 whichever is earlier. Each such motion must be accompanied by a competent
                              7 declaration affirming that the movant has complied with the meet and confer
                              8 requirements imposed in the preceding paragraph. Failure by the Designating Party to
                              9 make such a motion including the required declaration within 21 days (or 14 days, if
                             10 applicable) shall automatically waive the confidentiality designation for each
                             11 challenged designation. In addition, the Challenging Party may file a motion
                             12 challenging a confidentiality designation at any time if there is good cause for doing
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                             13 so, including a challenge to the designation of a deposition transcript or any portions
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                             14 thereof. Any motion brought pursuant to this provision must be accompanied by a
                             15 competent declaration affirming that the movant has complied with the meet and
                             16 confer requirements imposed by the preceding paragraph.
                             17         The burden of persuasion in any such challenge proceeding shall be on the
                             18 Designating Party. Frivolous challenges, and those made for an improper purpose
                             19 (e.g., to harass or impose unnecessary expenses and burdens on other parties) may
                             20 expose the Challenging Party to sanctions. Unless the Designating Party has waived
                             21 the confidentiality designation by failing to file a motion to retain confidentiality as
                             22 described above, all parties shall continue to afford the material in question the level
                             23 of protection to which it is entitled under the Producing Party’s designation until the
                             24 court rules on the challenge.
                             25 7.      ACCESS TO AND USE OF PROTECTED MATERIAL
                             26         7.1   Basic Principles. A Receiving Party may use Protected Material that is
                             27 disclosed or produced by another Party or by a Non-Party in connection with this case
                             28 only for prosecuting, defending, or attempting to settle this litigation. Such Protected
                                                                            8
                                                              STIPULATED PROTECTIVE ORDER
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                              1 Material may be disclosed only to the categories of persons and under the conditions
                              2 described in this Order. When the litigation has been terminated, a Receiving Party
                              3 must comply with the provisions of section 13 below (FINAL DISPOSITION).
                              4        Protected Material must be stored and maintained by a Receiving Party at a
                              5 location and in a secure manner that ensures that access is limited to the persons
                              6 authorized under this Order.
                              7        7.2     Disclosure of “CONFIDENTIAL” Information or Items. Unless
                              8 otherwise ordered by the court or permitted in writing by the Designating Party, a
                              9 Receiving Party may disclose any information or item designated “CONFIDENTIAL”
                             10 only to:
                             11        (a) the Receiving Party’s Outside Counsel of Record in this action, as well as
                             12 employees of said Outside Counsel of Record to whom it is reasonably necessary to
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                             13 disclose the information for this litigation and who have signed the “Acknowledgment
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                             14 and Agreement to Be Bound” that is attached hereto as Exhibit A;
                             15        (b) the officers, directors, and employees (including House Counsel) of the
                             16 Receiving Party to whom disclosure is reasonably necessary for this litigation and
                             17 who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
                             18        (c) Insurance Carrier(s) to whom disclosure is reasonably necessary for this
                             19 litigation and who have signed the "Acknowledgment and Agreement to Be Bound”
                             20 (Exhibit A);
                             21        (d) Experts (as defined in this Order) of the Receiving Party to whom
                             22 disclosure is reasonably necessary for this litigation and who have signed the
                             23 “Acknowledgment and Agreement to Be Bound” (Exhibit A);
                             24        (e) the court and its personnel;
                             25        (f) court reporters and their staff;
                             26        (g) professional jury or trial consultants, mock jurors, and Professional
                             27 Vendors to whom disclosure is reasonably necessary for this litigation and who have
                             28 signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
                                                                              9
                                                              STIPULATED PROTECTIVE ORDER
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                              1         (h) during their depositions, witnesses in the action to whom disclosure is
                              2 reasonably necessary and who have signed the “Acknowledgment and Agreement to
                              3 Be Bound” (Exhibit A), unless otherwise agreed by the Designating Party or ordered
                              4 by the court. Pages of transcribed deposition testimony or exhibits to depositions that
                              5 reveal Protected Material must be separately bound by the court reporter and may not
                              6 be disclosed to anyone except as permitted under this Stipulated Protective Order.
                              7         (i) the author or recipient of a document containing the information or a
                              8 custodian or other person who otherwise possessed or knew the information.
                              9 8.      PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN
                             10         OTHER LITIGATION
                             11         If a Party is served with a subpoena or a court order issued in other litigation
                             12 that compels disclosure of any information or items designated in this action as
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                             13 “CONFIDENTIAL,” that Party must:
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                             14         (a) promptly notify in writing the Designating Party. Such notification shall
                             15 include a copy of the subpoena or court order;
                             16         (b) promptly notify in writing the party who caused the subpoena or order to
                             17 issue in the other litigation that some or all of the material covered by the subpoena or
                             18 order is subject to this Protective Order. Such notification shall include a copy of this
                             19 Stipulated Protective Order; and
                             20         (c) cooperate with respect to all reasonable procedures sought to be pursued by
                             21 the Designating Party whose Protected Material may be affected.
                             22         If the Designating Party timely seeks a protective order, the Party served with
                             23 the subpoena or court order shall not produce any information designated in this
                             24 action as “CONFIDENTIAL” before a determination by the court from which the
                             25 subpoena or order issued, unless the Party has obtained the Designating Party’s
                             26 permission. The Designating Party shall bear the burden and expense of seeking
                             27 protection in that court of its confidential material – and nothing in these provisions
                             28
                                                                            10
                                                              STIPULATED PROTECTIVE ORDER
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                              1 should be construed as authorizing or encouraging a Receiving Party in this action to
                              2 disobey a lawful directive from another court.
                              3 9.      A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
                              4         PRODUCED IN THIS LITIGATION
                              5         (a) The terms of this Order are applicable to information produced by a Non-
                              6 Party in this action and designated as “CONFIDENTIAL.” Such information
                              7 produced by Non-Parties in connection with this litigation is protected by the
                              8 remedies and relief provided by this Order. Nothing in these provisions should be
                              9 construed as prohibiting a Non-Party from seeking additional protections.
                             10         (b) In the event that a Party is required, by a valid discovery request, to
                             11 produce a Non-Party’s confidential information in its possession, and the Party is
                             12 subject to an agreement with the Non-Party not to produce the Non-Party’s
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                             13 confidential information, then the Party shall:
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                             14         (1) promptly notify in writing the Requesting Party and the Non-Party that
                             15 some or all of the information requested is subject to a confidentiality agreement with
                             16 a Non-Party;
                             17         (2) promptly provide the Non-Party with a copy of the Stipulated Protective
                             18 Order in this litigation, the relevant discovery request(s), and a reasonably specific
                             19 description of the information requested; and
                             20         (3) make the information requested available for inspection by the Non-Party.
                             21         (c) If the Non-Party fails to object or seek a protective order from this court
                             22 within 14 days of receiving the notice and accompanying information, the Receiving
                             23 Party may produce the Non-Party’s confidential information responsive to the
                             24 discovery request. If the Non-Party timely seeks a protective order, the Receiving
                             25 Party shall not produce any information in its possession or control that is subject to
                             26 the confidentiality agreement with the Non-Party before a determination by the court.
                             27 Absent a court order to the contrary, the Non-Party shall bear the burden and expense
                             28 of seeking protection in this court of its Protected Material.
                                                                            11
                                                              STIPULATED PROTECTIVE ORDER
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                              1 10.     UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
                              2         If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
                              3 Protected Material to any person or in any circumstance not authorized under this
                              4 Stipulated Protective Order, the Receiving Party must immediately (a) notify in
                              5 writing the Designating Party of the unauthorized disclosures, (b) use its best efforts
                              6 to retrieve all unauthorized copies of the Protected Material, (c) inform the person or
                              7 persons to whom unauthorized disclosures were made of all the terms of this Order,
                              8 and (d) request such person or persons to execute the “Acknowledgment and
                              9 Agreement to Be Bound” that is attached hereto as Exhibit A.
                             10 11.     INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
                             11         PROTECTED MATERIAL
                             12         When a Producing Party gives notice to Receiving Parties that certain
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                             13 inadvertently produced material is subject to a claim of privilege or other protection,
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                             14 the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
                             15 Procedure 26(b)(5)(B). This provision is not intended to modify whatever procedure
                             16 may be established in an e-discovery order that provides for production without prior
                             17 privilege review. Pursuant to Federal Rule of Evidence 502(d) and (e), insofar as the
                             18 parties reach an agreement on the effect of disclosure of a communication or
                             19 information covered by the attorney-client privilege or work product protection, the
                             20 parties may incorporate their agreement in the stipulated protective order submitted to
                             21 the court.
                             22 12.     MISCELLANEOUS
                             23         12.1 Right to Further Relief. Nothing in this Order abridges the right of any
                             24 person to seek its modification by the court in the future.
                             25         12.2 Right to Assert Other Objections. By stipulating to the entry of this
                             26 Protective Order no Party waives any right it otherwise would have to object to
                             27 disclosing or producing any information or item on any ground not addressed in this
                             28
                                                                           12
                                                              STIPULATED PROTECTIVE ORDER
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                              1 Stipulated Protective Order. Similarly, no Party waives any right to object on any
                              2 ground to use in evidence of any of the material covered by this Protective Order.
                              3         12.3 Filing Protected Material. Without written permission from the
                              4 Designating Party or a court order secured after appropriate notice to all interested
                              5 persons, a Party may not file in the public record in this action any Protected Material.
                              6 A Party that seeks to file under seal any Protected Material must comply with Civil
                              7 Local Rule 79-5.2. Protected Material may only be filed under seal pursuant to a court
                              8 order authorizing the sealing of the specific Protected Material at issue. Pursuant to
                              9 Civil Local Rule 79-5.2, a sealing order will issue only upon a request establishing
                             10 that the Protected Material at issue is privileged, protectable as a trade secret, or
                             11 otherwise entitled to protection under the law. If a Receiving Party's request to file
                             12 Protected Material under seal pursuant to Civil Local Rule 79-5.2 is denied by the
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                             13 court, then the Receiving Party may file the information in the public record pursuant
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                             14 to Civil Local Rule 79-5.2 unless otherwise instructed by the court.
                             15         12.4 After this Stipulated Protective Order has been signed by counsel for all
                             16 Parties, it shall be presented to the Court for entry. Counsel agree to be bound by the
                             17 terms set forth herein with regard to any Confidential Materials that have been
                             18 produced before the Court signs this Stipulated Protective Order.
                             19         12.5 All Parties reserve their right to later meet and confer about the need for a
                             20 more restrictive stipulated protective order. If a Party or Parties determines that a
                             21 designation of "Attorneys' Eyes Only" is necessary in order to protect highly sensitive
                             22 confidential information and/or trade secrets, the Parties agree to meet and confer
                             23 about entering into a more restrictive Stipulated Protective Order that includes an
                             24 "Attorneys' Eyes Only" designation. If the Parties are unable to come to an agreement
                             25 regarding a Stipulated Protective Order that includes an "Attorneys' Eyes Only"
                             26 designation, the Party or Parties seeking to protect highly sensitive confidential
                             27 information and/or trade secrets may file a motion with the Court requesting entry of a
                             28 Protective Order that includes an "Attorneys' Eyes Only" designation.
                                                                            13
                                                              STIPULATED PROTECTIVE ORDER
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                              1 13.    FINAL DISPOSITION
                              2        Within 60 days after the final disposition of this action, as defined in paragraph
                              3 4, each Receiving Party must return all Protected Material to the Producing Party or
                              4 destroy such material. As used in this subdivision, “all Protected Material” includes
                              5 all copies, abstracts, compilations, summaries, and any other format reproducing or
                              6 capturing any of the Protected Material. Whether the Protected Material is returned or
                              7 destroyed, the Receiving Party must submit a written certification to the Producing
                              8 Party (and, if not the same person or entity, to the Designating Party) by the 60 day
                              9 deadline that (1) identifies (by category, where appropriate) all the Protected Material
                             10 that was returned or destroyed and (2) affirms that the Receiving Party has not
                             11 retained any copies, abstracts, compilations, summaries or any other format
                             12 reproducing or capturing any of the Protected Material. Notwithstanding this
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IRVINE, CALIFORNIA 92614




                             13 provision, Counsel are entitled to retain an archival copy of all pleadings, motion
      KLINEDINST PC




                             14 papers, trial, deposition, and hearing transcripts, legal memoranda, correspondence,
                             15 deposition and trial exhibits, expert reports, attorney work product, and consultant and
                             16 expert work product, even if such materials contain Protected Material. Any such
                             17 archival copies that contain or constitute Protected Material remain subject to this
                             18 Protective Order as set forth in Section 4 (DURATION).
                             19 IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
                             20
                                                                  SLOVAK BARON EMPEY MURPHY &
                             21                                   PINKNEY LLP
                             22
                             23 DATED: __June 8__, 2021           By:
                                                                        Shaun M. Murphy
                             24                                         Katelyn K. Empey
                                                                        Attorneys for Plaintiff, MISSION SPRINGS
                             25                                         WATER DISTRICT
                             26
                             27
                             28
                                                                           14
                                                             STIPULATED PROTECTIVE ORDER
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                              1                                BAKER KEENER & NAHRA LLP
                              2
                              3 DATED: _________,
                                       June 3     2021         By:
                              4                                      Phillip A. Baker
                                                                     Attorneys for Defendant MASTER METER,
                              5                                      INC.
                              6
                              7
                                                               KLINEDINST PC
                              8
                              9
                                  DATED: _________,
                                          June 3    2021       By:
                             10                                      Frederick M. Heiser
                             11                                      Emily J. Atherton
                                                                     Attorneys for Defendant CORE & MAIN, LP
                             12
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                             13
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                             14
                             15
                                  PURSUANT TO STIPULATION, IT IS SO ORDERED.
                             16
                             17
                             18
                             19 Dated:                               __________________________________
                                                                     HONORABLE TERRY J. HATTER, JR
                             20
                                  19552714.1
                             21
                             22
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                                                                       15
                                                           STIPULATED PROTECTIVE ORDER
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                              1                                         EXHIBIT A
                              2             ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
                              3
                                  I, _____________________________ [print or type full name], of
                              4
                                  _________________ [print or type full address], declare under penalty of perjury
                              5
                                  that I have read in its entirety and understand the Stipulated Protective Order that
                              6
                                  was issued by the United States District Court for the Central District of California
                              7
                                  on [date] in the case of Mission Springs Water District v. Master Meter, Inc., et al.. I
                              8
                                  agree to comply with and to be bound by all the terms of this Stipulated Protective
                              9
                                  Order and I understand and acknowledge that failure to so comply could expose me
                             10
                                  to sanctions and punishment in the nature of contempt. I solemnly promise that I
                             11
                                  will not disclose in any manner any information or item that is subject to this
                             12
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                                  Stipulated Protective Order to any person or entity except in strict compliance with
                             13
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                                  the provisions of this Order.
                             14
                                  I further agree to submit to the jurisdiction of the United States District Court for the
                             15
                                  Central District of California for the purpose of enforcing the terms of this
                             16
                                  Stipulated Protective Order, even if such enforcement proceedings occur after
                             17
                                  termination of this action.
                             18
                                  I hereby appoint __________________________ [print or type full name] of
                             19
                                  _______________________________________ [print or type full address and
                             20
                                  telephone number] as my California agent for service of process in connection with
                             21
                                  this action or any proceedings related to enforcement of this Stipulated Protective
                             22
                                  Order.
                             23
                             24
                                  Date: ______________________________________
                             25
                                  City and State where sworn and signed: _________________________________
                             26
                                  Printed name: _______________________________
                             27
                                  Signature: __________________________________19552714.1
                             28

                                                                             16
                                                                STIPULATED PROTECTIVE ORDER
